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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION (CINCINNATI)

Terry Jacobs                                   : Case No. 1:17-CV-74
6561 Madeira Hills Drive
Cincinnati, OH 45243                           : Judge

             Plaintiff,                        :

                                               :
      vs.                                        PLAINTIFF’S COMPLAINT
                                               : WITH JURY DEMAND
TRANS UNION, LLC
c/o CSC-Lawyers Incorporating Service          :
50 W. Broad St, Suite 1800
Columbus, OH 43215;                            :

EQUIFAX INFORMATION SERVICES, LLC              :
c/o CSC-Lawyers Incorporating Service
50 W. Broad St, Suite 1800                     :
Columbus, OH 43215;
                                               :
MACY’S RETAIL HOLDINGS, INC.
c/o CSC-Lawyers Incorporating Service          :
50 W. Broad St, Suite 1800
Columbus, OH 43215;                            :

TOYOTA MOTOR CREDIT CORPORATION                :
c/o CT Corporation System
1300 E. 9th St                                 :
Cleveland, OH 44114;
                                               :
BMO HARRIS BANK, N.A.
111 West Monroe Street                         :
Chicago, IL 60603
                                               :
                 Defendants.
                                               :

                                               :

                                           :
___________________________________________________________________________________




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               NOW COMES THE PLAINTIFF, TERRY JACOBS, BY AND THROUGH COUNSEL,

and for his Complaint against the Defendants, pleads as follows:

                                                 PARTIES

       1.      At all times relevant to this Complaint, Plaintiff Terry Jacobs (“Jacobs”) has been an Ohio

   resident, residing at 6561 Madeira Hills Drive, Cincinnati, Ohio 45243, which is in Hamilton County.

       2.      Defendant Trans Union LLC (“Trans Union”) is a foreign limited liability company that is

   registered to, and regularly conducts, business in Ohio, including Hamilton County.

       3.      Defendant Toyota Motor Credit Corporation (“Toyota”) is a foreign corporation that is

   registered to, and regularly conducts, business in Ohio, including Hamilton County.

       4.      Defendant BMO Harris Bank, N.A. (“BMO Harris Bank”) is a national banking association

   that maintains its office in Illinois, but regularly conducts business in Ohio, including Hamilton

   County.

       5.      Macy’s Retail Holdings, Inc. (“Macy’s”) is a foreign corporation that is register to, and

   regularly, conducts business in Ohio, including Hamilton County.

       6.      Equifax Information Services, LLC (“Equifax”) is a foreign limited liability company that

   is register to, and regularly, conducts business in Ohio, including Hamilton County.


                                     JURISDICTION AND VENUE

       7.      Jurisdiction in this case is proper under 28 U.S.C. § 1331, as the Plaintiff’s claims arise

   under the Fair Credit Reporting Act, 15 U.S.C. §1681, et al.

       8.      Venue is appropriate in this Court under 28 U.S.C. § 1391(b) because each of Defendants’

   contacts with this district are sufficient to subject it to this Court’s personal jurisdiction.




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                                 GENERAL ALLEGATIONS

   9.      On or about September 8, 2016, Plaintiff obtained his Trans Union and Equifax credit files

and noticed that Toyota Motor Credit Corp was reporting its trade line with account number

7040176194515**** with a remark which stated, “Dispute Investigating Complete-Consumer

Disagrees.” He also noticed that M&I Branch of BMO Harris Bank was reporting its trade line with

account number 506109820**** with the same remark which stated, “Dispute Investigation

Complete-Consumer Disagrees” on his Trans Union credit file. Further, Plaintiff noticed that Macy’s

was reporting its trade line with account number 424863732* with a remark which stated, “Consumer

Disputes This Account Information” on his Equifax credit file.

   10.     The above trade lines are hereinafter referred to as “Errant Trade Lines.”

   11.     Mr. Jacobs no longer disputed the above Errant Trade Lines so on or about October 27,

2016, Mr. Jacobs submitted a letter to Trans Union and Equifax stating that he no longer disputed

the Errant Trade Lines. Mr. Jacobs requested that the disputed language be removed from the Errant

Trade Lines.

   12.     Upon information and belief, Trans Union and Equifax forwarded Mr. Jacobs’ consumer

dispute to Toyota, M&I Branch of BMO Harris Bank and Macy’s.

   13.     On or about November 29, 2016, Mr. Jacobs received Trans Union’s investigation results

which showed that both Toyota and M&I Branch of BMO Harris Bank retained the disputed

language on the Errant Trade Lines. Specifically, they retained the language which stated, “Dispute

Investigating Complete-Consumer Disagrees” on both Errant Trade Lines.

   14.     On or about December 3, 2016, Mr. Jacobs received Equifax’s investigation results

which showed that both Toyota and Macy’s retained the disputed language on the Errant Trade

Lines. Specifically, Macy’s retained the language which stated, “Consumer Dispute This Account



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Information” and Toyota retained the language which stated, “Consumer Disputes After

Resolution.”

                                             COUNT I

          NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               BY TOYOTA

    15.     Plaintiff realleges the above paragraphs as if recited verbatim.

    16.     After being informed by Trans Union and Equifax that Mr. Jacobs no longer disputed the

Errant Trade Line, Toyota negligently failed to conduct a proper investigation of Mr. Jacobs’ dispute

as required by 15 USC 1681s-2(b).

    17.     Toyota negligently failed to review all relevant information available to it and provided by

Trans Union and Equifax in conducting its reinvestigation as required by 15 USC 1681s-2(b).

Specifically, it failed to direct Trans Union and Equifax to remove the disputed language from Mr.

Jacobs’s credit file.

    18.     The Errant Trade Line is inaccurate and creating a misleading impression on Mr. Jacobs’

consumer credit file with Trans Union and Equifax to which it is reporting such trade line.

    19.     As a direct and proximate cause of Toyota’s negligent failure to perform its duties under

the FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering, humiliation and

embarrassment.

    20.     Toyota is liable to Mr. Jacobs by reason of its violations of the FCRA in an amount to be

determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC 1681o.

    21.     Mr. Jacobs has a private right of action to assert claims against Toyota arising under 15

USC 1681s-2(b).

            WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant Toyota for damages, costs, interest and attorneys’ fees.

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                                            COUNT II

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               BY TOYOTA

    22.     Plaintiff realleges the above paragraphs as if recited verbatim.

    23.     After being informed by Trans Union and Equifax that Mr. Jacobs disputed the accuracy

of the information it was providing, Toyota willfully failed to conduct a proper reinvestigation of Mr.

Jacobs’ dispute.

    24.     Toyota willfully failed to review all relevant information available to it and provided by

Trans Union as required by 15 USC 1681s-2(b).

    25.     As a direct and proximate cause of Toyota’s willful failure to perform its respective duties

under the FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering, humiliation and

embarrassment.

    26.     Toyota is liable to Mr. Jacobs for either statutory damages or actual damages he has

sustained by reason of its violations of the FCRA in an amount to be determined by the trier fact,

together with an award of punitive damages in the amount to be determined by the trier of fact, as well

as for reasonable attorneys’ fees and he may recover therefore pursuant to 15 USC 1681n.

            WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant Toyota for the greater of statutory or actual damages, plus punitive damages, along with

costs, interest and attorneys’ fees.

                                            COUNT III

          NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                          BY BMO HARRIS BANK

    27.     Plaintiff realleges the above paragraphs as if recited verbatim.



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    28.      After being informed by Trans Union that Mr. Jacobs no longer disputed the Errant Trade

Line, BMO Harris Bank negligently failed to conduct a proper investigation of Mr. Jacobs’ dispute as

required by 15 USC 1681s-2(b).

    29.      BMO Harris Bank negligently failed to review all relevant information available to it and

provided by Trans Union in conducting its reinvestigation as required by 15 USC 1681s-2(b).

Specifically, it failed to direct Trans Union to remove the disputed language from Mr. Jacobs’ credit

file.

    30.      The Errant Trade Line is inaccurate and creating a misleading impression on Mr. Jacobs’

consumer credit file with Trans Union to which it is reporting such trade line.

    31.      As a direct and proximate cause of BMO Harris Bank’s negligent failure to perform its

duties under the FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering, humiliation and

embarrassment.

    32.      BMO Harris Bank is liable to Mr. Jacobs by reason of its violations of the FCRA in an

amount to be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC

1681o.

    33.      Mr. Jacobs has a private right of action to assert claims against BMO Harris Bank arising

under 15 USC 1681s-2(b).

             WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant BMO Harris Bank for damages, costs, interest and attorneys’ fees.

                                             COUNT IV

            WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                           BY BMO HARRIS BANK

    34.      Plaintiff realleges the above paragraphs as if recited verbatim.




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   35.     After being informed by Trans Union that Mr. Jacobs disputed the accuracy of the

information it was providing, BMO Harris Bank willfully failed to conduct a proper reinvestigation of

Mr. Jacobs’ dispute.

   36.     BMO Harris Bank willfully failed to review all relevant information available to it and

provided by Trans Union as required by 15 USC 1681s-2(b).

   37.     As a direct and proximate cause of BMO Harris Bank’s willful failure to perform its

respective duties under the FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering,

humiliation and embarrassment.

   38.     BMO Harris Bank is liable to Mr. Jacobs for either statutory damages or actual damages

he has sustained by reason of its violations of the FCRA in an amount to be determined by the trier

fact, together with an award of punitive damages in the amount to be determined by the trier of fact,

as well as for reasonable attorneys’ fees and he may recover therefore pursuant to 15 USC 1681n.

           WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant BMO Harris Bank for the greater of statutory or actual damages, plus punitive damages,

along with costs, interest and attorneys’ fees.

                                            COUNT V

         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              BY MACY’S

   39.     Plaintiff realleges the above paragraphs as if recited verbatim.

   40.     After being informed by Equifax that Mr. Jacobs no longer disputed the Errant Trade Line,

Macy’s negligently failed to conduct a proper investigation of Mr. Jacobs’ dispute as required by 15

USC 1681s-2(b).




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   41.     Macy’s negligently failed to review all relevant information available to it and provided by

Equifax in conducting its reinvestigation as required by 15 USC 1681s-2(b). Specifically, it failed to

direct Equifax to remove the disputed language from Mr. Jacobs’ credit file.

   42.     The Errant Trade Line is inaccurate and creating a misleading impression on Mr. Jacobs’

consumer credit file with Equifax to which it is reporting such trade line.

   43.     As a direct and proximate cause of Macy’s negligent failure to perform its duties under the

FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering, humiliation and embarrassment.

   44.     Macy’s is liable to Mr. Jacobs by reason of its violations of the FCRA in an amount to be

determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC 1681o.

   45.     Mr. Jacobs has a private right of action to assert claims against Macy’s arising under 15

USC 1681s-2(b).

           WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant Macy’s for damages, costs, interest and attorneys’ fees.

                                           COUNT VI

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                               BY MACY’S

   46.     Plaintiff realleges the above paragraphs as if recited verbatim.

   47.     After being informed by Equifax that Mr. Jacobs disputed the accuracy of the information

it was providing, Macy’s willfully failed to conduct a proper reinvestigation of Mr. Jacobs’ dispute.

   48.     Macy’s willfully failed to review all relevant information available to it and provided by

Equifax as required by 15 USC 1681s-2(b).

   49.     As a direct and proximate cause of Macy’s willful failure to perform its respective duties

under the FCRA, Mr. Jacobs has suffered damages, mental anguish, suffering, humiliation and

embarrassment.

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    50.       Macy’s is liable to Mr. Jacobs for either statutory damages or actual damages he has

sustained by reason of its violations of the FCRA in an amount to be determined by the trier fact,

together with an award of punitive damages in the amount to be determined by the trier of fact, as well

as for reasonable attorneys’ fees and he may recover therefore pursuant to 15 USC 1681n.

              WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the

Defendant Macy’s for the greater of statutory or actual damages, plus punitive damages, along with

costs, interest and attorneys’ fees.

                                             COUNT VII

          NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                            BY TRANS UNION

    51.       Plaintiff realleges the above paragraphs as if recited verbatim.

    52.       Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Mr. Jacobs as that term is defined in 15 USC 1681a.

    53.       Such reports contained information about Mr. Jacobs that was false, misleading, and

inaccurate.

    54.       Trans Union negligently failed to maintain and/or follow reasonable procedures to assure

maximum possible accuracy of the information it reported to one or more third parties pertaining to

Mr. Jacobs, in violation of 15 U.S.C. § 1681e(b).

    55.       After receiving Mr. Jacobs’ consumer dispute to the Errant Trade Lines, Trans Union

negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

    56.       As a direct and proximate cause of Trans Union’s negligent failure to perform its duties

under the FCRA, Mr. Jacobs has suffered actual damages, mental anguish and suffering, humiliation,

and embarrassment.




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   57.        Trans Union is liable to Mr. Jacobs by reason of its violation of the FCRA in an amount

to be determined by the trier fact together with his reasonable attorneys’ fees pursuant to 15 U.S.C. §

1681o.

              WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against Trans

Union for actual damages, costs, interest, and attorneys’ fees.

                                            COUNT VIII

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                            BY TRANS UNION

   58.        Plaintiff realleges the above paragraphs as if recited verbatim.

   59.        Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Mr. Jacobs as that term is defined in 15 USC 1681a.

   60.        Such reports contained information about Mr. Jacobs that was false, misleading, and

inaccurate.

   61.        Trans Union willfully failed to maintain and/or follow reasonable procedures to assure

maximum possible accuracy of the information that it reported to one or more third parties pertaining

to Mr. Jacobs, in violation of 15 U.S.C. § 1681e(b).

   62.        After receiving Mr. Jacobs’ consumer dispute to the Errant Trade Lines, Trans Union

willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   63.        As a direct and proximate cause of Trans Union’s willful failure to perform its duties under

the FCRA, Mr. Jacobs has suffered actual damages, mental anguish and suffering, humiliation, and

embarrassment.

   64.        Trans Union is liable to Mr. Jacobs by reason of its violations of the FCRA in an amount

to be determined by the trier of fact together with his reasonable attorneys’ fees pursuant to 15 U.S.C.

§ 1681n.


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   WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against Trans Union for

the greater of statutory or actual damages, plus punitive damages, along with costs, interest, and

attorneys’ fees.

                                             COUNT IX

         NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                             BY EQUIFAX

   65.        Plaintiff realleges the above paragraphs as if recited verbatim.

   66.        Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Mr. Jacobs as that term is defined in 15 USC 1681a.

   67.        Such reports contained information about Mr. Jacobs that was false, misleading, and

inaccurate.

   68.        Equifax negligently failed to maintain and/or follow reasonable procedures to assure

maximum possible accuracy of the information it reported to one or more third parties pertaining to

Mr. Jacobs, in violation of 15 U.S.C. § 1681e(b).

   69.        After receiving Mr. Jacobs’ consumer dispute to the Errant Trade Lines, Equifax

negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

   70.        As a direct and proximate cause of Equifax’s negligent failure to perform its duties under

the FCRA, Mr. Jacobs has suffered actual damages, mental anguish and suffering, humiliation, and

embarrassment.

   71.        Equifax is liable to Mr. Jacobs by reason of its violation of the FCRA in an amount to be

determined by the trier fact together with his reasonable attorneys’ fees pursuant to 15 U.S.C. § 1681o.

              WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against Equifax

for actual damages, costs, interest, and attorneys’ fees.




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                                              COUNT X

           WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                              BY EQUIFAX

    72.       Plaintiff realleges the above paragraphs as if recited verbatim.

    73.       Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Mr. Jacobs as that term is defined in 15 USC 1681a.

    74.       Such reports contained information about Mr. Jacobs that was false, misleading, and

inaccurate.

    75.       Equifax willfully failed to maintain and/or follow reasonable procedures to assure

maximum possible accuracy of the information that it reported to one or more third parties pertaining

to Mr. Jacobs, in violation of 15 U.S.C. § 1681e(b).

    76.       After receiving Mr. Jacobs’ consumer dispute to the Errant Trade Lines, Equifax willfully

failed to conduct a reasonable reinvestigation as required by 15 U.S.C. § 1681i.

    77.       As a direct and proximate cause of Equifax’s willful failure to perform its duties under the

FCRA, Mr. Jacobs has suffered actual damages, mental anguish and suffering, humiliation, and

embarrassment.

    78.       Equifax is liable to Mr. Jacobs by reason of its violations of the FCRA in an amount to be

determined by the trier of fact together with his reasonable attorneys’ fees pursuant to 15 U.S.C. §

1681n.

    WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against Equifax for the

greater of statutory or actual damages, plus punitive damages, along with costs, interest, and attorneys’

fees.




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                                PRAYER FOR RELIEF

Wherefore, Plaintiff asks this Court to enter judgment in his favor as follows:

a.     Statutory damages

b.     Actual damages;

c.     Punitive damages;

d.     Damages for pecuniary, economic and emotional damages and loss;

e.     Costs of the action;

f.     Statutory attorney’s fees;

g.     Pre and Post-Judgment Interest; and

h.     Any additional relief deemed appropriate by the Court.




                                             Respectfully submitted,

                                              /s/ Cori R. Besse
                                              Cori R. Besse, Trial Attorney (0081447)
                                              Adam V. Sadlowski (0079582)
                                              SADLOWSKI & BESSE L.L.C.
                                              11427 Reed Hartman Highway, Suite 217
                                              Blue Ash, Ohio 45241
                                              Tel: (513) 618-6596
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                                              Attorneys for Plaintiff




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                               JURY DEMAND

                        Plaintiff demands a trial by jury.

                                         /s/ Cori R. Besse
                                         Cori R. Besse




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